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                 IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                              MISSOULA DIVISION



 UNITED STATES OF AMERICA,                              CR20-05-M-DLC


                     Plaintiff,

          vs.                                                 ORDER


DAVID PAUL FARRAR,

                     Defendant.



      Before the Court is Defendant David Paul Farrar’s Motion to Suppress

Evidence. (Doc. 29.) This motion accompanies Farrar’s contemporaneously filed

motion to compel, which the Court denied. (See Docs. 31; 32; 41.) In both

motions, Farrar seeks to support his theory that a central prosecution witness, L.S.,

acted as a state agent when she discovered an SD card containing an incriminating

video in his bedroom.


      Farrar urges the Court to suppress the evidence seized as a result ofL.S.’s

purportedly warrantless search of his bedroom. (Doc. 30 at 2.) The Court held a

hearing on June 17, 2020. After considering the parties’ briefs, supporting

exhibits, and the evidence presented at the hearing, the Court denies Farrar’s

motion.




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                                          Background


        Although the evidence presented at the hearing left the Court’s previous

iteration ofthe factual background largely unchanged {see Doc. 41), the Court will

 nevertheless summarize the operative facts again to put the ruling here into

 context.



        On August 7, 2019, Sanders County Deputy Sheriff Roy Scott received a

 call from “someone”' stating that L.S. needed to talk with him about a discovery

 she made in Farrar’s home. (Doc. 33-1 at 1.) Three days later. Deputy Scott spoke

to L.S. at Farrar’s residence at 105 East Meany (the “East Meany house”)in Plains,

 Montana—a home that Farrar rented and where L.S. stayed with Farrar’s

 permission while he was in custody in Idaho. {Id.) L.S. informed Deputy Scott

 that, while “cleaning up and taking care ofthe home,” she found several digital

 storage devices, including an SD card containing a sexually explicit video of a

 child. {Id.) Deputy Scott asked L.S. to provide him with a statement and to hold

 onto the SD card and other digital storage devices in the bedroom until he could

 contact an outside investigative agency. {Id.)




'In his brief, Farrar represents that L.S. made the initial call to Deputy Scott. (Doc. 30 at 2, 3.)
 However, at the hearing. Deputy Scott testified that another woman, J.T., made the August 7,
 2019 phone call. L.S., too, confirmed at the hearing that J.T. made the call at L.S.’s request.
 L.S. explained that she asked J.T. to call the Sheriffs Deputy because she, L.S., “didn’t always
 have service on [her] phone, and she [J.T.] did, so it was a much quicker route than [L.S.] going
 to try and find wifi.”
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      Ultimately, Deputy Scott called Homeland Security Investigations (“HSI”)

in the Department of Homeland Security for assistance. {Id.) HSI Special Agents

Holly Langley and Richard McManaway,together with Deputy Scott and Sanders

County Detective Brian Josephson, interviewed L.S. on August 23, 2019. (Doc.

33-2 at 1.) L.S. said that she had been looking for “some pictures of hers [Farrar]

was supposed to have downloaded for her to an SD card” when she discovered the

video that led her to initiate contact with Deputy Scott. {Id.)

      L.S. explained that she found several SD cards in a safe in Farrar’s bedroom

closet. {Id. at 1, 5.) L.S. claimed she had access to the safe because it contained

her belongings, too. {Id.) The SD cards were stored together in a small, light

green coin pouch. {Id. at 5.) L.S. said she “was removing SD cards [from the

pouch] and putting them in and out other phone” to find the one that contained her

own photos when she came across the video ofthe child. (Doc. 33-2 at 5.) L.S.

stated that she “un-mounted” the SD card from her phone and put everything

together in a box in the bedroom. {Id.) The interview with HSI concluded with a

renewed instruction to L.S. to leave the electronics and storage devices in Farrar’s

bedroom. {Id. at 7.)

      Based primarily on the information L.S. provided to law enforcement, HSI

obtained a search warrant for the East Meany house, which it executed on August

29, 2019. {Id. at 10; Doc. 34-1.) During the search, HSI agents previewed and

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seized the SD cards described by L.S. from Farrar’s bedroom. (Docs. 30 at 10; 30-

2 at 1.)

        On January 9, 2020, Farrar was charged by complaint with Sexual

Exploitation of a Child, in violation of 18 U.S.C. § 2251(a), and Possession of

Child Pornography, in violation of 18 U.S.C. § 2252A(a)(5)(b). (Doc. 1.) A

Grand Jury proceeding followed, resulting in the issuance of an indictment

charging three counts of Sexual Exploitation of Child, thirteen counts of

Transportation of Child Pornography, and one count ofPossession of Child

Pornography. (Doc. 11.) Now,Farrar moves to suppress the “items of evidentiary

value relative to this federal prosecution,” positing that L.S. acted as a state agent

searching without a warrant when she discovered the SD cards in the coin pouch.

(Docs. 29; 30 at 10.)

                                            Discussion


        As Farrar identifies, the question is whether L.S. acted privately or as an

instrument of the state when she searched the safe in his bedroom at the East


Meaney house.^ {See Doc. 30 at 3.) If the Court finds that L.S. acted as an

instrument ofthe state, Farrar’s theory goes, then it must conclude that her




^ Farrar specifically states in his brief that “[c]onsent and satellite issues like apparent authority'
do not form the basis for his motion to suppress. (Doc. 30 at 13.) He confirmed at the hearing
that “consent and authorization are kind of a tangent here that we need not go down.”
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warrantless search rendered the seized SD cards the fruit of an unconstitutional


search and suppress them.

I.    Legal Standard

      In relevant part, the Fourth Amendment provides that “[t]he right ofthe

people to be secure in their persons, houses, papers, and effects, against

unreasonable searches and seizures, shall not be violated.” The Fourth

Amendment’s “basic purpose ... is to safeguard the privacy and security of

individuals against arbitrary invasions by governmental officials.” Carpenter v.

United States, 138 S. Ct. 2206, 2213(2018)(quoting Camara v. Mun. Court of

City and Cty. ofSan Francisco, 387 U.S. 523, 528 (1967)). To that end,“searches

... inside a home without a warrant are presumptively unreasonable.” Ky. v. King,

563 U.S. 452, 460(2011)(citation and internal quotation marks omitted).

      The exclusionary rule enforces the right against unreasonable searches by

 bar[ring] the prosecution from introducing evidence obtained by way of a Fourth

Amendment violation.” Davis v. United States, 564 U.S. 229, 232(2011). The

rule “encompasses both the primary evidence obtained as a direct result of an

illegal search ... and ... evidence later discovered and found to be derivative of

an illegality, the so-called [‘]fruit ofthe poisonous tree[’].” Utah v. Strieff, 136 S.

Ct. 2056, 2061 (2016)(internal quotation marks and citations omitted). The

potential breadth ofthe exclusionary rule’s application aside. Supreme Court

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emphasizes its role as a “deterrent sanction,” Davis, 564 U.S. at 231-32, and that

 suppression of evidence ... has always been our last resort, not our first impulse.

Striejf, 136 S. Ct. at 2061 (citation omitted). In other words, because the rule’s

 sole purpose ... is to deter future Fourth Amendment violations,” exclusion is

'clearly ... unwarranted” where suppression fails to yield “appreciable

deterrence.” Davis, 564 U.S. at 21)6-31 (citations omitted).

      On a motion to suppress evidence under the exclusionary rule, a defendant

bears the burden of proving a Fourth Amendment violation by a preponderance of

the evidence. See United States v. Cayman,404 F.3d 1196, 1199(9th Cir. 2005);

United States v. Matlock, 415 U.S. 164, 177 n.l4(1974)(citing Lego v. Twomey,

404 U.S. 477,488-89 (1972)). Relevant here, where a private party conducted the

purportedly unconstitutional search, “[t]he defendant has the burden of establishing

government involvement in [the] private search.” United States v. Cleaveland, 38

F.3d 1092, 1093 (9th Cir. 1994).

II.   Analysis

      Farrar argues that the SD cards seized from his bedroom by HSI agents

executing the August 29, 2019 warrant should be suppressed. He contends that the

warrant was based on evidence found during a warrantless search by L.S. acting in

conjunction with Sanders County law enforcement.



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      As already set out, the Fourth Amendment protects against unreasonable

searches, King, 563 U.S. at 460, but “proscrib[es] only governmental action; it is

wholly inapplicable ‘to a search ..., even an unreasonable one, effected by a

private individual not acting as an agent ofthe [gjovemment or with the

participation or knowledge of any governmental official,” United States v.

Jacobsen, 466 U.S. 109, 113(1984)(citation omitted). However,“[w]here a

private party acts as an ‘instrument or agent’ ofthe state in effecting a search ..   • 5




the Fourth Amendment is implicated. Cleaveland, 38 F.3d at 1093 (quoting

Coolidge V. N.H., 403 U.S. 443,487(1971)).

      Courts in the Ninth Circuit conduct a two-pronged inquiry to determine

whether a private party’s search implicates the Fourth Amendment. Cleaveland,

38 F.3d at 1093. First, as described above, the court must ask if“the government

knew of and acquiesced in the intrusive conduct.” Id. (citation omitted). Second,

the court must decide “whether the party performing the search intended to assist

law enforcement efforts or further [her] own ends.” Id. (citation omitted). A

determination that the government had no knowledge and did not acquiesce in the

search is dispositive; a private person “cannot act unilaterally as an agent or

instrument ofthe state; there must be some degree of governmental knowledge and

acquiescence.    United States v. Sherwin, 539 F.2d 1,6(9th Cir. 1976). Absent

 official involvement, a search is not governmental.” Id.

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       At the hearing, Farrar conceded that L.S.’s search was not necessarily

directed by the government, but argued that the Court should nevertheless find that

it was involved. Farrar contends that, as in Lustig v. United States^ the

government became involved before L.S. completed the search, thereby

implicating the Fourth Amendment. Lustig, however, was decided on

distinguishable facts and outdated law.

       There, operating under the since-abrogated Byars doctrine,'* the Supreme

Court examined the degree to which a federal agent participated in an illegal search

initiated by state authorities. See generally, Lustig, 338 U.S. 74. The federal agent

did not participate when the local police entered Lustig’s hotel room and

 proceeded to empty [] bags and the drawers of a bureau and thus came upon the

evidence [of counterfeiting] sought to be suppressed.” Id. at 76-77. However,

when he learned what local law enforcement found, the federal agent “came to the

hotel and examined the evidence in controversy.” Id. And, when Lustig returned

to the hotel room with the search in progress, the federal agent examined items as




3 338 U.S. 74(1949).
^ See Byars v. United States, 273 U.S. 28, 33(1927)(recognizing the “right of the federal
government to avail itself ofevidence improperly seized by state officers operating entirely upon
their own account,” but holding that, where the federal government itself“participates in the
wrongful search and seizure,” the improperly seized evidence is excludable in federal court),
abrogated by Elkins v. United States, 364 U.S. 206, 223(1960)(holding that “evidence obtained
by state officers during a search which, if conducted by federal officers, would have violated ...
the Fourth Amendment is inadmissible” in federal court).
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the arresting officers removed them from Lustig’s pockets “with the view to [their]

use in [the] federal [counterfeiting] prosecution.” Id. at 77.

      While accepting that the federal agent “was not the moving force of the

search,” the Court emphasized that a “[s]earch is not completed until effective

appropriation, as part of an uninterrupted transaction, is made of illicitly obtained

objects for subsequent proof of an offense.” Id. at 78. As such,the federal agent’s

arrival at the hotel room after the search began and “selection ofthe evidence

deemed important for use in a federal prosecution . . . , as part ofthe entire

transaction in Room 402, was not severable, and therefore was part ofthe search

carried out in that room.” Id. In other words, the federal agent “share[d] in the

critical examination ofthe uncovered articles as the physical search proceeded.

Id. The Court refused to “differentiate between participation from the beginning of

an illegal search and joining it before it had run its course.” Id.

      Here, however,law enforcement became involved only after L.S. discovered

the SD card and its contents and asked J.T. to call Deputy Scott on her behalf.

Farrar presents no evidence that Deputy Scott arrived at the East Meany house

while L.S. pulled SD cards from the coin pouch and inserted them one-by-one into

her phone. Indeed, L.S. testified that she put all the SD card back together nearly

an hour before she asked J.T. to make the initial phone call to Deputy Scott on

August 7, 2019. For his part. Deputy Scott testified that when he met with L.S.

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three days after he received J.T.’s phone call, L.S. explained to him that she had

been searching for her own photos when she discovered images and a video that

she believed to depict child pornography. {See also Doc. 33-10 at 2.) In other

words, unlike the federal agent in Lustig, Deputy Scott did not “critically]

examin[e]” the SD cards as L.S.’s physical search ofthe safe and the coin pouch

proceeded. See Lustig, 338 U.S. at 78. Instead, he arrived after the purportedly

illegal search had “run its course.” See id.

      That Deputy Scott instructed L.S. to preserve the property inside Farrar’s

bedroom until he could contact an outside agency for assistance does not change

the Court’s view that L.S. completed her search prior to government involvement.

Farrar points to no authority, and the Court is aware of none, to suggest that when

law enforcement asks a discovering witness to refrain from destroying potential

evidence, the witness’ prior conduct retroactively becomes a search for Fourth

Amendment purposes. Instead, the Court agrees with the government’s position

that this type of directive is “standard law enforcement protocol” when a witness

discovers evidence of criminal activity. {See Doc. 33 at 14.)

      Additionally, despite the “infer[ences]” in his brief indicating otherwise.

Farrar failed to elicit any evidence at the hearing that L.S. maintained a “pre

existing informant-type relationship” with Sanders County law enforcement. {See

Doc. 30 at 14-15.) Deputy Scott testified that he never asked L.S. to act as a

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confidential informant or source, and he had no knowledge of anyone else at the

Sanders County Sheriffs office ever speaking with her at all. He went on to

explain that, while he indeed relayed a tip to Idaho authorities in 2018 that Farrar

was making a “drug run” through the state, neither L.S. nor J.T. was the original

tipster. Agent Langley, too, confirmed that L.S. had never worked for HSI as a

confidential informant. Finally, L.S. testified that neither state nor federal

authorities asked her to search any of Farrar’s property.

      In sum,the Court finds that Farrar has not proven by a preponderance ofthe

evidence that the government knew of, acquiesced in, or was otherwise involved in

L.S.’s search of the safe and coin pouch, as required under the first prong ofthe

Cleaveland inquiry. Instead, on the evidence presented, L.S. conducted the search

unilaterally as a private citizen—conduct that the Fourth Amendment’s protection

does not reach. See Jacobsen, 466 U.S. at 113. Because this determination is

dispositive, the Court need not decide whether L.S. searched Farrar’s bedroom to

assist law enforcement or to further her own ends. See Sherwin, 539 F.2d at 6.

                                       Order


      For the foregoing reasons, IT IS ORDERED that Farrar’s motion to suppress

(Doc. 29)is DENIED.




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DATED this      day of July, 2020.




                                                ■ U/mtmM
                                     Dana L. Christensen, District Judge
                                     United States District Court




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